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Lauren Lowe (00:00):
All right.

Jeff Lowe (00:03):
Hello.

Agent Matthew Bryant (00:03):
Hey, dude. [crosstalk 00:00:06]

Jeff Lowe (00:05):
Oh, just, I know you probably can't divulge the information, but did you see what Joe posted tonight?

Agent Matthew Bryant (00:14):
No, but it's got to be damn laughable.

Jeff Lowe (00:19):
Well, he says something about you guys need to be concerned that what the feds came asking me about
you today, about you, Lauren and James...

Agent Matthew Bryant (00:33):
Ain't nobody talked to him.

Jeff Lowe (00:36):
I wonder what the fuck...

Agent Matthew Bryant (00:37):
You know what it is, Jeff. And you got to relax when this shit comes out. You know it's exactly him,
poking the damn fire, stirring it up, just like just Dick Johnson and everybody else. He doesn't have fact
one, but he's going to stir the pot.

Jeff Lowe (00:54):
Well, that's why I couldn't believe that they would go to him. That's what I told Lauren. I said, "The feds
aren't going to go to Joe and give him any insinuation or any assumption that there's a problem with
their witnesses."

Agent Matthew Bryant (01:09):
Oh, my gosh. That's idiotic. He's under indictment. We're in the process of frantically trying to finalize
our case on him. Why in the hell would we, at this time-

Jeff Lowe (01:21):
Jeopardize.

Agent Matthew Bryant (01:23):


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Logically, we're interviewing witnesses in pretrial testimony as fast as we can run through them. Why
would we stop all of that to go talk to Joe about what he thinks?

Jeff Lowe (01:35):
Yeah. Yeah. He's just, God damn, he's so good at this.

Agent Matthew Bryant (01:40):
Yeah. So that's why you got to ignore. And I'm telling you, and I'm telling you this, as somebody we've
become friends, you have to ignore him.

Jeff Lowe (01:51):
Yeah. Oh, I'm trying my damndest, believe me. Well, we're still trying to make everybody think we're in
Rome because we don't want them knowing we're here, but, God damn.

Agent Matthew Bryant (02:06):
Yeah.

Jeff Lowe (02:06):
It's-

Agent Matthew Bryant (02:07):
Yeah. That's asinine. Why in the hell, when I'm two weeks away from starting, day one, a trial with you,
would I go talk to you, and ask you information about somebody else?

Jeff Lowe (02:20):
Right. Yeah. That didn't make sense to me. That's what...

Agent Matthew Bryant (02:22):
No, it makes no sense.

Jeff Lowe (02:22):
All right. I just wondered, because-

Agent Matthew Bryant (02:28):
Yeah. Don't let him provoke you. If you pay attention to Joe, Joe is a con man-

Jeff Lowe (02:36):
Extraordinaire.

Agent Matthew Bryant (02:37):
And he earned the title, "con man," because he's good.

Jeff Lowe (02:39):


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Yeah. Extraordinaire. He's very good.

Agent Matthew Bryant (02:47):
Yeah.

Jeff Lowe (02:47):
Chelsea said that he's running the jail over there, in Grady County.

Agent Matthew Bryant (02:50):
Yeah. That's what I heard today. But, that's fine. Let him think so.

Jeff Lowe (02:53):
Yeah.

Agent Matthew Bryant (02:54):
If you're running a jail-

Jeff Lowe (02:56):
Wait until you get to prison.

Agent Matthew Bryant (02:58):
Is that really bragging rights?

Jeff Lowe (03:00):
Right. Right. That means you're good at conning cons?

Agent Matthew Bryant (03:04):
Yeah. I'm somebody in a jail cell?

Jeff Lowe (03:07):
Right.

Agent Matthew Bryant (03:07):
In Timbuktu, Oklahoma?

Jeff Lowe (03:08):
Right. Yeah.

Agent Matthew Bryant (03:12):
All the other inmates like me?

Jeff Lowe (03:13):
Right.

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Agent Matthew Bryant (03:14):
I can get what I want, but where are you at? You're still in fricking jail.

Jeff Lowe (03:20):
Yeah. Yeah. Every once in a while, I need the voice of reason. You know me.

Agent Matthew Bryant (03:21):
Yeah. So. Come on. Come on, Joe. You're still in jail. You're still eating when somebody tells you. You're
still pissing when somebody lets you. And you don't get any free time unless somebody nods their head.

Jeff Lowe (03:36):
Right.

Agent Matthew Bryant (03:36):
Yeah. Be somebody there. Go ahead. Good luck.

Jeff Lowe (03:40):
Yeah. Yep. Well, it's-

Agent Matthew Bryant (03:48):
But, he's good. I'll give him that. I give him, he's-

Jeff Lowe (03:51):
Props, right?

Agent Matthew Bryant (03:52):
Charismatic. He's a good con man. He knows how to play it all, but ain't nobody talking to Joe.

Jeff Lowe (03:58):
No. And I told Lauren-

Agent Matthew Bryant (04:00):
Any talking that I'm doing, I'm trying my best to get shit organized so that we can prosecute Joe.

Jeff Lowe (04:06):
How close? You guys are pretty close?

Agent Matthew Bryant (04:10):
We just finalized. We got Glover, Fennelly, James.

Jeff Lowe (04:15):
What about Reinke? Did you ever get to Reink?



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Agent Matthew Bryant (04:18):
No, but defense did.

Jeff Lowe (04:18):
Well. He can run whatever he says. He's-

Agent Matthew Bryant (04:24):
Yeah. I'll don't give a shit.

Jeff Lowe (04:25):
Yeah.

Agent Matthew Bryant (04:27):
Yep. He won't have anything damning, because he damn sure can't say he didn't know about it.

Jeff Lowe (04:32):
Right, oh-

Agent Matthew Bryant (04:34):
Damn sure can't say he didn't know they were selling cubs.

Jeff Lowe (04:36):
And Reinke knew so much about that cub selling. And anybody who knew Joe knows he was talking
about killing Carol all the freaking time. And I remember Reinke participating in all of our jokes, and our
Kill Carol days. But it was, yeah. Yeah. Did you see the story that they did on him a couple days ago?

Agent Matthew Bryant (05:01):
I heard about it. I didn't see it.

Jeff Lowe (05:02):
Yeah.

Agent Matthew Bryant (05:02):
Was it good?

Jeff Lowe (05:03):
Yeah. They showed another video that I never had seen that had him. It was a green screen, like was in
front of a really nice production facility, and he says, "Carol, I'm the most dangerous exotic animal
owner in the world. And before you take me down, you'll stop breathing," or something like that.

Agent Matthew Bryant (05:25):
Yeah. I remember seeing that video, for sure.



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Jeff Lowe (05:27):
Yeah.

Agent Matthew Bryant (05:29):
But I didn't know they posted it on the media.

Jeff Lowe (05:30):
Yeah. It's on some web... KFO, whatever channel nine is, I think.

Agent Matthew Bryant (05:36):
Wow.

Jeff Lowe (05:38):
So, has Dateline contacted. They still going to be here?

Agent Matthew Bryant (05:46):
You know, I don't know. I try to say out of all that, Jeff.

Jeff Lowe (05:48):
Yeah.

Agent Matthew Bryant (05:50):
What I try to do is, yeah, there's, some of it is interest and exciting, but at the end of the day-

Jeff Lowe (05:59):
It's just another case.

Agent Matthew Bryant (06:01):
Did he violate the law?

Jeff Lowe (06:02):
Yep. He certainly did.

Agent Matthew Bryant (06:04):
[crosstalk 00:06:04] Let me get another bad guy done. I don't care about Dateline and all that crap.

Jeff Lowe (06:07):
Yeah.

Agent Matthew Bryant (06:08):
Is Joe a bad guy? Is he a bad guy for the resource?

Jeff Lowe (06:12):

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Yeah.

Agent Matthew Bryant (06:12):
I believe so. That's the reason I worked the case.

Jeff Lowe (06:14):
Yeah. All right, buddy. I just need the voice of calm, once in a while, because-

Agent Matthew Bryant (06:22):
You bet. You bet. Don't [inaudible 00:06:23].

Jeff Lowe (06:22):
You see what I deal with. I deal with these fucking idiots, like Jeff Johnson. And I can't argue back. I just
don't. It does no good. It just does no good, because-

Agent Matthew Bryant (06:35):
Really, if you could argue back, it does no good but to suit their own purpose, because all they want is to
get a rise out of you, and to get you to comment. Then they know that they're getting to you.

Jeff Lowe (06:47):
Right. Well, we posted all these pictures of Rome and every, "Look how Photoshopped they are." It's
like, "Shut the fuck up." Go look at our pictures. And they think they're all Photoshopped. We just
Photoshopped 80 pictures from Rome.

Agent Matthew Bryant (07:01):
Yeah. That's crazy. I don't pay attention to that type of crap. And I've learned this in my life. Once you
realize who somebody is and what somebody's about, that's a good judge to determine whether they're
worth your time.

Jeff Lowe (07:18):
Right.

Agent Matthew Bryant (07:19):
So if Joe posts something or Jeff Johnson posts something, you already know what they're about. You
already know what they stand for. Are they worth your time and a response?

Jeff Lowe (07:34):
Right.

Agent Matthew Bryant (07:34):
I know my answer.

Jeff Lowe (07:37):



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Nope-

Agent Matthew Bryant (07:37):
My answer is no. You want to do all this. You want to try to provoke me. You want to do all this type of
stuff to elicit a response out of me. And by eliciting a response out of me, you win.

Jeff Lowe (07:48):
Right.

Agent Matthew Bryant (07:49):
So if I ignore you, then that just makes you extremely angry that you're not getting the time. And then, I
win.

Jeff Lowe (08:00):
Yeah. Jeff Johnson, here's something. Oh. Jeff Johnson posted on his page. Somebody screenshot's me,
because I got his ass blocked. But it said, "Attention, federal agencies, I know you monitor my page. Why
is this conversation not evidence that Lowe was trying to hire someone to kill me?" And it's stupid. The
text says something about, it's me texting Joe, and without a date. And it says, "I think I can pull off park
by Friday." And I don't even know what I was talking about. And then it says, "I have a good feeling
about this weekend." And he's saying that was proof that I tried to burn his house down. So, I asked
Lauren to call today, to get the police report for you guys to show that we were tied up in Las Vegas
when that happened. But these guys are taking text messages, and completely either faking them or
redacting them, and-

Agent Matthew Bryant (09:03):
Yeah, you can't take text messages, unless there is a string of text messages with the time and date-

Jeff Lowe (09:11):
Right.

Agent Matthew Bryant (09:11):
Between you and I, for instance, that said, "Hey, Jeff." "Hey, Matt."

Jeff Lowe (09:14):
Right.

Agent Matthew Bryant (09:16):
"I'm going to go rob that bank today, over on Third Street."

Jeff Lowe (09:19):
Right.

Agent Matthew Bryant (09:19):



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"Oh, cool. I'm going to go with you. I'll meet you on Fourth Street at 10:00, then we'll rob it." And then
the bank gets robbed.

Jeff Lowe (09:29):
And then you're screwed. Yeah.

Agent Matthew Bryant (09:29):
Yeah.

Jeff Lowe (09:29):
Yeah.

Agent Matthew Bryant (09:29):
That's good evidence.

Jeff Lowe (09:30):
Right.

Agent Matthew Bryant (09:30):
But you can't take a comment that I make today, a comment that I make three days from now, and a
comment that I make eight days from now-

Jeff Lowe (09:38):
And piece-

Agent Matthew Bryant (09:39):
And put all those texts back to back.

Jeff Lowe (09:41):
Right.

Agent Matthew Bryant (09:41):
And make it look like a conversation.

Jeff Lowe (09:42):
Right. Piece together conversation. Yeah. I would hope not, because-

Agent Matthew Bryant (09:46):
Yeah.

Jeff Lowe (09:48):
[crosstalk 00:09:48] I could put him in under the prison if I was allowed to do that, because I could make
up all kinds of crap, but-


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Agent Matthew Bryant (09:53):
Yeah. Believe it or not, the federal government's smart on that.

Jeff Lowe (09:58):
Yeah. I know. All right, man.

Agent Matthew Bryant (10:01):
But Joe's not. Joe's trying to do that.

Jeff Lowe (10:03):
Yep. Well, it's got to be Dylan. It's either got to be Dylan or Ann. Because Joe doesn't have his phone,
obviously.

Agent Matthew Bryant (10:12):
Right.

Jeff Lowe (10:12):
But, that damn Ann. She's a shit stirrer.

Agent Matthew Bryant (10:19):
Yeah. I'll just share my same advice, as I usually do.

Jeff Lowe (10:26):
Ignore them.

Agent Matthew Bryant (10:26):
Keep quiet.

Jeff Lowe (10:27):
Ignore them.

Agent Matthew Bryant (10:27):
Keep quiet. Only the losers are talking.

Jeff Lowe (10:31):
Right. All righty.

Agent Matthew Bryant (10:31):
Yeah.

Jeff Lowe (10:32):
Well.



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Agent Matthew Bryant (10:32):
Yep.

Jeff Lowe (10:33):
How long should Alan be up there? Four or five hours, maybe?

Agent Matthew Bryant (10:38):
Yeah, I'd say so.

Jeff Lowe (10:39):
All right.

Agent Matthew Bryant (10:40):
Whoever you send up there is going to kill a whole day, and probably early.

Jeff Lowe (10:44):
And that's 1:00, right?

Agent Matthew Bryant (10:46):
Yeah.

Jeff Lowe (10:46):
All right. I'm going to send a photographer girl up there with him, because he can't drive. He can't, so.

Agent Matthew Bryant (10:52):
Yeah.

Jeff Lowe (10:53):
I'm not going to-

Agent Matthew Bryant (10:54):
Just tell her to go shopping and hang out downtown.

Jeff Lowe (10:56):
Yeah. All right. Well, you guys have to be done by 5:00, right? Because don't they close those offices or
no?

Agent Matthew Bryant (11:05):
We can go later.

Jeff Lowe (11:05):
Okay.



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Agent Matthew Bryant (11:06):
If we need to.

Jeff Lowe (11:07):
All right. Well, she'll just have to find something.

Agent Matthew Bryant (11:12):
Yeah.

Jeff Lowe (11:14):
All right, buddy. Well, I appreciate you calling back.

Agent Matthew Bryant (11:15):
All right.

Jeff Lowe (11:17):
All right. Good night.

Agent Matthew Bryant (11:18):
All right.




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